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July 24, 2023

RE: Claim Against the Boy Scouts of America (Privileged and Confidential Attorney
Client Communication)

We are writing to you today with an update on your case against the Boy Scouts of America (BSA).

Trustee Houser asked our law firms to confirm we represent you in this case, which we sent across
on July 13", 2023. With this information they have begun pre-populating their system to start to
receive questionnaires. Trustee Houser has indicated that the final version of the questionnaire will
be ready no later than the end of July, and they are insisting that all questionnaires are completed
and sent back to them by Friday, December Ist, 2023.

On the whole this is a great thing as Trustee Houser will know the total population of claimants
still participating in this process by no later than Friday, December Ist) That is an important part
of their calculation in determining money damages on each individual case. The reason why that
is so important is because the total number of claims will have a correlation with the amount of
money available for individual claimants. At the end of the day there is 2.45 billion dollars that
has been committed to fund the trust and there are still outstanding insurance policies that have yet
to be settled. Trustee Houser needs to know how many claims will be made against that total
amount of money to start distributions of it. As you know, there were approximately 82,000 claims

filed in the bankruptcy before November 16th of 2020. But everyone that still wants to eeiigble
_in this process will need to have their questionnaire subinitte djby y December Ist, 2023, to be eligible

“for money damages. __ ee

This means you yu will want your damages narrative ready and be on the lookout for communication
from my office as soon as we receive the final version of the questionnaire. Again, we will fill out
the bulk of the questionnaire on your behalf, but we will need you to review it, potentially add a
damages narrative (with our help), and ultimately sign off on its accuracy. We hope to have these
out to youin August! ~*~

In terms of the flow of money into the Trust, there is currently 634 million dollars in the trust
account. The oil and gas leases assigned to the trust have produced 6 million dollars to date. The
trustee believes they have found a buyer for the 61-piece Norman Rockwell collection and are
aiming for 65 million dollars to purchase it. Also, there have been 21 properties approved for sale

-< REPRESENTING THE PEOPLE AGAINST THE POWERFUL

ANDREW TEAGUE KASODIE
VAN ARSDALE, ESQ, WESTROPE, ESQ WEST, ESQ

MANAGING PARTNER ATTORNEY ATTORNEY

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from various local counsel camps across the Country with 75 additional properties being put up
on the market for sale.

Lastly, in an attempt to force the unsettled insurer's hand, the Trustee has retained litigation
Counsel in Texas to file a lawsuit on behalf of the Trust (you and your claims) against the unsettled
insurance policies. We are optimistic that the filing of that lawsuit will force the insurers back to
the table to discuss settlement negotiations, rather than having to wait until all appeals are
exhausted sometime next year.

That is where things stand today, and we will have another update out along with the questionnaire
in August with instructions on how that should be completed. Again, thank you for your continued
patience and trust in our firm.

Sincerely Yours, -

Le Fe

Andrew Van Arsdale

REPRESENTING THE PEOPLE AGAINST THE POWERFUL
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. ANDREW TEAGUE KASODIE
VAN ARSDALE, ESQ. WESTROPE, ESQ WEST, ESQ

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Kasodie West, Esq. 4
Litigation Attomey |REpRESENTING THE PEOPLE Vs THE POWERFUL | onal: help@avalaw.com

April 7, 2023

RE: Claim Against the Boy Scouts of America (Privileged & Confidential; Attorney-Client
Communication)

We are writing to you today with an update on your case against the Boy Scouts of America (BSA) in both the
U.S. Bankruptcy Court and U.S. Federal Court in Wilmington, Delaware. If you have been following the news,
you have probably seen that Judge Andrew's affirmed the proposed plan of reorganization confirmed by Judge

Silverstein in the bankruptcy Court.

The opposing insurers who lost their arguments filed a motion to immediately stay the trust pending their
appeal to the Third Circuit. Briefings should be finalized today and we anticipate Judge Andrews will rule on

this issue within two weeks.

If Judge Andrews does not stay the trust, a trust will be formed and funded with close to | billion dollars to
begin distribution of money damages for your claim filed in the bankruptcy. If he stays the trust, any trust
formation will be delayed until after the 3rd Circuit has a chance to issue an opinion on these issues. We
believe he will likely deny the motion, a trust will be formed, and a process to pay money damages to you will

begin immediately.
The total money committed is 2.45 billion to fund the trust, but the rest of the money will only be released

after all appeals are exhausted. I will also note that Judge Andrews noted there is almost 4 billion dollars in
unsettled insuranée policies, of which a portion of that will eventually settle for the benefit of Boy Scout

Abuse Survivors.

We will have another update after Judge Andrews rules on the stay motion, and if he tules as we think he will,
we will want to move quickly to submit your case to the Trust for payment processing. We will need to go over
your questionnaire that the trustee and you will need to sign a document verifying the information we will
submit similar to what you had to do with your proof of claim form back in the fall of 2020.

This is good news and we will be in touch with you on that as soon as the trust is formed and the questionnaire
is finalized. The BSA is finally being held accountable for what they allowed to happen to yoy as a child.

Thank you for your patience and trust in our firm and this process. If you have any questions, please contact us
directly at 888-99-SCOUT.

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Sincerely Yours,
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claimant umber .SA

Andrew Van Arsdale

Representing the People Against the Powerful www.avalow.com

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